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UNITED STATES DISTRICT COURT                  DOC #: _ _-nir+-~1-9~
SOUTHERN DISTRICT OF NEW YORK                 DATE FILED:
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                                                14-cv-96'62 (JSR)
In re: PETROBRAS SECURITIES
LITIGATION                                      OPINION & ORDER

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JED S. RAKOFF, U.S.D.J.


     Those who file objections to class action settlements may

themselves be pursuing widely varying objectives, ranging from

the useful to the self-serving. On the positive side, class

action "objectors" -   i.e., members of the class who file

objections to proposed class action settlements prior to the

Court's determination of whether or not to finally approve the

settlement to which it has previously given preliminary approval

- may serve an important role in protecting class interests.

They can, for example, bring to light evidence that a settlement

was collusive or that class counsel's fee award was inflated.

See, e.g., White v. Auerbach, 500 F.2d 822, 828 (2d Cir. 1974)

("[I]t is well settled that objectors have a valuable and

important role to play in preventing collusive or otherwise

unfavorable settlements"). Moreover, if interested class

members, who, if not named plaintiffs, typically play no role in

settlement negotiations, were not given the opportunity to

express their views of the settlement, the entire class action

structure might not pass constitutional muster. See Amchem


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Prods. v. Windsor, 521 U.S. 591   (1997)   (emphasizing the

importance of protecting absent class members).

     In recent years, however, it has become obvious that some

objectors seek to pervert the process by filing frivolous

objections and appeals, not for the purpose of improving the

settlement for the class, but of extorting personal payments in

exchange for voluntarily dismissing their appeals. These

extortionate efforts, which the Seventh Circuit recently termed

"objector blackmail," have increasingly interfered with the

prompt and fair resolution of class litigation at a direct cost

to class members, who may thereby be prevented from collecting

the settlement funds owed to them for months and even years

unless they succumb to the blackmail. See Pearson v. Target

Corp., 893 F.3d 980, 982   (7th Cir. 2018). See also In re Ivan F.

Boesky Sec., 948 F.2d 1358, 1368 (2d Cir. 1991) (discussing how

objectors "constituting ... an infinitesimal fraction of the

classes as a whole, and pursuing weak claims, have injured all

classes by this appeal"); In re Initial Public Offering Sec.

Litig., 728 F. Supp. 2d 289, 295 (S.D.N.Y. 2010)     ("concur[ring]

with numerous courts that have recognized that professional

objectors undermine the administration of justice by disrupting




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settlement in the hopes of extorting a greater share of the

settlement for themselves and their clients") . 1

     An amendment to Rule 23, Fed. R. Civ. P.,      requiring

judicial approval of any monetary settlements to objectors,      is

scheduled to go into effect at the end of this year absent

Congressional veto. The amendment may help to curb these abusive

side deals in the future. See Proposed Amendments to the Federal

Rules of Civil Procedure, Rules 5, 23, 62, and 65.1, Slip Order

at *9-15 (U.S. Apr. 26, 2018,

https://www.supremecourt.gov/orders/courtorders/frcv18 5924.pdf.

But in the meantime individual courts bear responsibility for

striking a balance between facilitating legitimate objections

and protecting class members from objector extortion.

     Before the Court is the motion of Class Plaintiffs for

sanctions against Joshua R. Furman, Esq.   ("Furman"), attorney

for objector Spencer Bueno ("Bueno"), and against objector

Richard Gielata and his "de facto counsel," Joseph Gielata, Esq.

(collectively, "the Gielatas") . 2 Class Plaintiffs argue that



1Unless otherwise indicated, case quotations omit all internal
quotation marks, alterations, footnotes, and citations.

2The Gielata objections were filed on behalf of Richard and
Emelina Gielata, but Class Plaintiffs do not seek sanctions or
other relief with respect to Emelina. They do, however, seek
sanctions and other relief with respect not only as to Richard
Gielata, but also as to Joseph Gielata, who functioned as their
quasi-counsel during the proceedings in this Court and who now
has filed an appeal as their purported assignee.
                                  3
sanctions are warranted pursuant to Federal Rule of Civil

Procedure 11 ("Rule 11"), 28 U.S.C. § 1927 ("Section 1927"),

and/or the Court's inherent authority. See Memorandum of Law in

Support of Lead Plaintiff's Motion for Sanctions Against Joshua

R. Furman ("Pl. Mem. F."), Dkt. 857; Memorandum of Law in

Support of Motion for Sanctions Against Joseph Gielata and

Richard Gielata ("Pl. Mem. G."), Dkt. 862. Class Plaintiffs also

argue that Bueno and the Gielatas should be ordered to post    a~


appeal bond. Lead Plaintiff's Memorandum of Law in Support of

Motion for an Order Requiring an Appeal Bond ("Pl. Mem. Bond"),

Dkt. 860. Furman, Bueno, and the Gielatas oppose, and have filed

cross-motions for sanctions against Class Plaintiffs. See

Opposition to Lead Counsel's motion for Sanctions Against Joshua

R. Furman, Request for Sanctions Against Jeremy A. Lieberman

Pursuant to Federal Rule of Civil Procedure 11 (c) (2)   ("Furman

Opp."), Dkt. 880; Bueno Opposition to Lead Plaintiff's Motion

for an Appeal Bond ("Bueno Bond Opp."), Dkt. 881; Richard,

Emelina and Joseph Gielata's Memorandum of Law in Opposition to

Lea Plaintiff's Motion for Sanctions and for an Appeal Bond and

Counter-Request for Sanctions Against Jeremy Lieberman and

Pomerantz LLP ("Gielata Opp."), Dkt. 882.

     For the reasons stated below, the Court imposes sanctions

against Furman in the amount of $10,000, to be paid by October

1, 2018(and without prejudice to Class Plaintiffs seeking

                                 4
further sanctions subsequently) and orders Bueno to post an

appeals bond of $5,000; denies the motion for sanctions against

the Gielatas, but orders the Gielatas to post an appeal bond of

$50,000; and denies in their entirety the objectors' motions to

sanction Class Plaintiffs.

     I.   Background

     The Court here assumes full familiarity with the history of

this large and lengthy litigation and with the underlying facts,

which are more fully laid out in the Opinion and Order dated

June 22, 2018   ("Op."), Dkt. 834. As here relevant, the Court, on

June 22, 2018, approved a $3 billion settlement in the instant

class action, one of the largest class action settlements in

recent years. In doing so, the Court rejected, inter alia,

objections filed by Bueno, represented by Furman, and by Richard

and Emelina Gielata (and drafted by Joseph Gielata), but

declined to reach Class Plaintiffs' allegations that Bueno and

Richard and Emelina Gielata were acting with "improper motives

including ... seeking to extort personal payments through the

device of frivolous appeals." Id. at 4 n.5.   Instead, the Court

expressly retained jurisdiction to address, even after entry of

final judgment, any past or future objector efforts at

extortion. See Order dated May 22, 2018, at 2, Dkt. 818

("[O]bjectors were reminded that by filing their objections to

the class settlement, they and their counsel were subject to the

                                  5
continuing jurisdiction of the Court and that, if appropriate,

the Court would retain jurisdiction to inquire into their

compliance with Rule 11 and analogous provisions of federal

law"); see also June 4, 2018 Hr'g Tr. at 55:23-56:6 ("I have

expressly retained jurisdiction in this case over the objectors

even after I issue my final rulings on the matters before me

today") . Bueno and Richard, Emelina, and Joseph Gielata

subsequently filed notices of appeal of the Court's final

judgment. See Notice of Appeal, Dkt. 849; Notice of Appeal, Dkt.

850; Notice of Partial Withdrawal of Objections of Spencer R.

Bueno to Class Action Settlement, Dkt. 853.3 This motion practice

followed.

    I.     Motions for Sanctions

         Class Plaintiffs argue that Furman, representing Bueno, and

Richard and Joseph Gielata filed their objections and subsequent

appeals as part of an "extortionist agenda" to extract a

monetary settlement in exchange for dismissing their appeals.

Pl. Mem. G. at 1; Pl. Mem. F. at 1. Accordingly, they seek the

imposition of sanctions on Furman and the Gielatas pursuant to

Rule 11, Section 1927, and/or the Court's inherent authority.



3 A third notice of appeal was filed by objectors Mathis and
Catherine Bishop, see Dkt. 842, but, unlike Bueno and the
Gielatas, the Bishops stipulated that their appeal pertained
solely to the issue of attorneys' fees and expenses and,
accordingly, did not preclude the settlement from becoming
final. See Stipulation & Order Dated July 26, 2018, Dkt. 847.
                                    6
    A. Legal Standard

     "A federal district court possesses broad inherent power to

protect the administration of justice by levying sanctions in

response to abusive litigation practices." Penthouse Int'l, Ltd.

v. Playboy Enters., Inc., 663 F.2d 371, 386 (2d Cir. 1981). The

court's inherent power has been long-recognized to include the

power "to discipline attorneys who appear before it." Chambers

v. NASCO, Inc., 501 U.S. 32, 43 (1991)    (citing Ex Parte Burr, 22

U.S. 529 (1824)). While "the court should ordinarily rely on the

Rules rather than the inherent power" to sanction bad-faith

conduct, if "neither the statute nor the Rules are up to the

task, the court may safely rely on its inherent power." Id. at

50. A court may issue sanctions pursuant to its inherent power

"against an attorney, a party, or both." Olivieri v. Thompson,

803 F.2d 1265, 1273 (2d Cir. 1986).

     Sanctions are justified pursuant to the court's inherent

power where there is a "specific finding" of bad faith and

"clear evidence that the conduct at issue is (1) entirely

without color and (2) motivated by improper purposes." Wolters

Kluwer Fin. Servs., Inc. v. Scivantage, 564 F.3d 110, 114 (2d

Cir. 2009). In determining whether bad-faith warrants sanctions,

courts "focus on the purpose rather than the effect of the

sanctioned attorney's activities." Enmon v. Prospect Capital

Corp., 675 F.3d 138, 145 (2d Cir. 2012)    (finding that "sanctions

                                7
may be warranted even where bad-faith conduct does not disrupt

the litigation before the sanctioning court").

        Section 1927 authorizes the imposition of sanctions against

"any attorney ... who so multiplies the proceedings in any case

unreasonably and vexatiously" in the form of "excess costs,

expenses and attorney's fees reasonably incurred because of such

conduct." 28 U.S.C. § 1927. The purpose of the statute is to

"deter unnecessary delays in litigation." Olivieri, 803 F.2d at

1273.     Much like sanctions imposed pursuant to the court's

inherent power, section 1927 sanctions require "a clear showing

of bad faith on the part of an attorney," which "may be inferred

only if actions are so completely without merit as to require

the conclusion that they must have been undertaken for some

improper purpose such as delay." Salovaara v. Eckert, 222 F.3d

19, 35    (2d Cir. 2000). See also Olivieri, 803 F.2d at 1273

("[T]he only meaningful difference between an award made under§

1927 and one made pursuant to the court's inherent power

is ... that awards under § 1927 are made only against attorneys or

other persons authorized to practice before the courts while an

award made under the court's inherent power may be made against

an attorney, a party, or both.").

        The Second Circuit has described the determination as to

whether to impose sanctions as "one of the most difficult and

unenviable tasks for a court." Schla1fer Nance & Co., Inc. v.

                                   8
Estate of Warhol,   194 F.3d 323, 341   (2d Cir. 1999). "On the one

hand, a court should discipline those who harass their opponents

and waste judicial resources by abusing the legal process. On

the other hand, in our adversarial system, we expect a litigant

and his or her attorney to pursue a claim zealously within the

boundaries of the law and ethical rules." Id. As noted above,

achieving this balance is particularly difficult in class

actions, where the Court must safeguard the ability of objectors

to protect class members from abusive settlements while in turn

protecting class members from being abused by the objectors

themselves.

     B. Joshua R. Furman

     Plaintiff argues that Furman should be sanctioned because

the objections he made before this Court and the appeal that he

has now filed on behalf of Bueno from this Court's denial of

these objections lack any colorable merit and "are made for the

sole purpose of delaying the administration of the Settlement,"

i.e., are made in bad faith. Pl. Mem. F. at 11. This Court

largely agrees.

     i.   Colorable Basis

     "Conduct is entirely without color when it lacks any legal

or factual basis." Wolters Kluwer,      564 F.3d at 114. In making

this assessment, the Court must consider "whether a reasonable

attorney ... could have concluded that the facts supporting the

                                  9
claim might be established, not whether such facts actually had

been established." Schlaifer Nance, 194 F.3d at 337.

     Representing Bueno, Furman filed as his objections to the

proposed final settlement what this Court then described as "a

kitchen-sink brief that purports to identify inequities relating

to at least a dozen aspects of the proposed settlement," Op. at

24, none of which had the slightest merit. Indeed, some of

Furman's arguments lacked even factual support, while the others

lacked any legal basis.

     For instance, the Court found no factual support for

Furman's argument that the Plan of Allocation was not provided

on the notice website, id. at 23 n.15. Or, again while Furman

objected that plaintiffs had not provided a break-down of

expenses necessary to calculate a reasonable fee award, the

Court found that "each Representative has provided sworn

statements detailing the work performed, the people who

performed it, and the time expended." Id. at 27. As for Furman's

legal arguments, they were often entirely lacking, or (as in the

case of Furman's strange argument that the Plan was an "improper

claimant fund-sharing scheme") were premised on purported

authority that was, as the Court found,   "entirely inapposite."

Id. at 25.

     The only objection raised by Furman that might even be

considered conceivably colorable (though even that would be a

                                10
stretch) was the argument that the settlement "fail[ed] to

address the issue of cy pres distributions" adequately because

it did not identify a specific cy pres recipient, but instead

provided for the later identification of a Brazilian entity

"selected by the Petrobras Defendants and approved by Class

Counsel, whose mission is to fight corruption and improve

corporate governance in Brazil." Objections of Spencer R. Bueno

to Class Action Settlement & Opposition to Motion for Attorneys'

Fees and Incentive Payments to Class Representatives at 4, Dkt.

803. Furman argued that the specific identity of the cy pres

recipient "must be determined by the Court ... before the

settlement can be approved," and that the settlement's cy pres

provision would deprive class members of their "right to be

heard on who the cy pres recipient will be." Id.

     As presented in Furman's objection, these arguments lacked

any legal support: Furman cited no case law in support of these

assertions. Nonetheless, in approving the settlement, the Court

deferred ruling on objections to cy pres as it was unclear at

that point if there would be any funds left after distribution

to the class and so the matter might be moot. See June 4, 2018

Tr. Instead, the Court specifically provided that it would

"permit further briefing on this [cy pres] issue, as

appropriate,   if and when the question becomes ripe for




                                 11
consideration, and the Court retains jurisdiction for that

purpose." Op. at 23.

        Entirely independent of the cy pres issue, the frivolous

quality of Furman's other objections would well warrant

sanctions under Section 1927. But since it is only the cy pres

issue that Furman now raises on appeal, see Notice of Partial

Withdrawal of Objections of Spencer R. Bueno to Class Action

Settlement, Dkt. 853, and since the essence of Class Plaintiffs'

motion is that Furman's notice of appeal was filed for purely

extortionate purposes, it is worth noting how totally frivolous

that appeal is. To begin with, there is no case law in the

Second Circuit requiring the court to identify a specific cy

pres recipient prior to approving a settlement. See In re Am.

Int'l Group,    Inc. Sec. Litig., 293 F.R.D. 459, 463 (S.D.N.Y.

2013)    (rejecting objector's contention that settlement could not

be approved as it failed to specify a cy pres beneficiary as

"there was no legal authority to support the argument; no Court

in the Circuit has ever made identifying the organization to

receive the residual funds a condition precedent to a Settlement

approval")    (emphasis added) ; see also In re Ci ti group Inc. Sec.

Litig., 199 F. Supp. 3d 845, 851        (S.D.N.Y. 2016)   (denying

reconsideration of a court order approving cy pres designation

after its approval of the settlement agreement, noting that "by

the time cy pres designations are ripe, any remaining settlement

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funds cannot be distributed further to the class"). Furman does

not argue that Second Circuit law states otherwise. Instead, he

now describes his contention that the court must designate a cy

pres recipient prior to settlement approval as "based on

persuasive Ninth Circuit authority and related cases," Furman

Opp. at 7, and necessary to "avoid a circuit split," Bueno Opp.

at 6.

        In actuality, however, as Furman implicitly acknowledges in

his most recent briefing, Furman Opp. at 7-8, Ninth Circuit

precedent, like that of the Second Circuit, does not condition

settlement approval on cy pres recipient identification. Rather,

the Ninth Circuit has explicitly held that cy pres issues

"become[] ripe only if the entire settlement fund is not

distributed to class members." Rodriguez v. West Publ'g Corp.,

563 F.3d 948, 966 (9th Cir. 2009)       (declining to address

objectors' challenge to a class settlement's cy pres provision

as "no cy pres disbursement in imminent")       (emphasis added). The

one Ninth Circuit case that Furman cites in purported support of

his "circuit split" claim, Dennis v. Kellogg Co., 697 F.3d 858

(9th Cir. 2012), is, in fact, entirely consistent with the

framework adopted by Rodriguez (and this Court): the Dennis

court found objections to    ~   pres distribution "ripe for

determination" in that case because at that point both the fact

that funds were left for cy pres distribution and the amount of

                                   13
those funds had been determined. Id. at 864-65. Furman himself

notes that Dennis distinguishes Rodriguez on these grounds, see

F. Opp. at 8, yet in the same paragraph asserts that Dennis's

holding is that "the identity of the cy pres recipient must be

determined in order to fulfill the trial court's obligation to

absent class members under Rule 23," Furman Opp. at 7. This

blatant mischaracterization is clearly insupportable.

     Furthermore, given the Court's ruling that it would address

the cy pres issue if and when (if ever)   it became ripe, i.e.,

when there were any leftover funds to distribute (an unlikely

circumstance in this case), Furman's appeal is itself unripe.

While Furman asserts that "the same circumstances that required

ruling on Dennis are present in this case," Furman Opp. at 8,

the contrary is true; for in this case, unlike in Dennis, it is

unclear if there will be any funds remaining for cy pres

distribution. Op. at 23. Furman's personal speculation that

funds will likely be left for cy pres distribution, Furman Opp.

at 8, is not the legal equivalent of the statement by the claims

administrator and class counsel specifying the amount of funds

remaining for _s:y pres distribution that the Dennis court found

made the cy pres issue ripe.   4




4 Furman also argues that approval of the settlement should be
delayed pending the Supreme Court's decision in Frank v. Gao,
No. 17-961 (U.S. 2017), which is currently scheduled for oral
argument on October 31, 2018. Furman contends that the Supreme
                                   14
     Furman also objects generally to the structure of the cy

pres provision in the final settlement, arguing that it provides

insufficient Court supervision of the designation of the cy pres

recipient and that the selected designee might be inappropriate.

Furman Opp. at 9-10. Yet, as the Court stated clearly in its

Opinion and was subsequently agreed to by the parties in a

stipulation discussed below, see Stipulation & Order dated

August 31, 2018, at 2, Dkt. 889, the structure of this provision

is irrelevant, because the Court retains full authority to

select, structure, and supervise designation of a cy pres

recipient when and if the issue becomes ripe. Furman offers no

explanation of why any objections he might have to the selection

of the proposed   ~   pres recipient could not be sufficiently

heard when, if ever, it is clear what amount of money, if any,

is available for cy pres distribution.

     In sum, Furman's objections in the district court and his

projected appeal of one of them lack any colorable basis.

     ii.   Bad Faith




Court's ruling in that case "will almost certainly provide
further guidance on what must be found for approval of any class
action settlement including a cy pres distribution." Furman
Opp. at 8 n.3. However, as Furman himself acknowledges, the
question presented in Frank is "whether a cy pres-only
distribution is ever fair, reasonable, and adequate[]." Id.; see
Petition for Writ of Certiorari, Frank v. Gao, No. 17-961 (U.S.
2017). This is clearly irrelevant to the case at hand.
                                  15
     Bad faith may be inferred where "actions are so completely

without merit as to require the conclusion that they must have

been undertaken for some improper purpose such as delay."

Salovaara v. Eckert, 222 F.3d 19, 35 (2d Cir. 2000). Moreover,

"[m]isrepresentations, coupled with frivolous litigation,

establish clear evidence of bad faith." Prospect Capital Corp.

v. Enmon, No. 08 civ. 3721, 2010 U.S. Dist. LEXIS 23477, at *15

( S. D. N. Y. Mar. 9, 2010) .

     As discussed above, Furman's objections - not least the cy

pres argument that he is using, through his appeal, to

materially delay distribution of the settlement funds to the

victim class - are frivolous, either on their face or upon

inspection. Moreover, Furman, in his submissions to the Court,

has made repeated misrepresentations of both the facts and the

law. The only likely motive for this misconduct is Furman's

attempt to extort a payment from the Class Plaintiffs in order

that they may avoid costly delay, in other words, extortion. Any

doubt that this is his bad faith motivation is erased by

Furman's established history, detailed in Class Plaintiff's

submissions, of filing appeals on behalf of objectors and then

voluntarily dismissing them in exchange for payments. See Pl.

Mem. F. at   4-5.~   See, e.g., Initial Pub. Offering, 728 F. Supp.



5Furman disputes that his motivation in these other cases was
extortionate, citing still other cases where, he claims, his
                                    16
2d at 294   (considering objector's history of "serial" objections

and efforts to extort fees in exchange for withdrawing appeals

as evidence of bad faith).

     Still further evidence of Furman's bad faith may be

inferred from his recent conduct. After this Court rejected his

objections as frivolous and approved the settlement, Furman

initially appealed the entire Final Approval Order. See Notice

of Appeal, Dkt. 850. Upon receipt of Class Plaintiff's proposed

motion for sanctions, however, Furman withdrew all of his

objections except for his objections related to the   ~     pres

recipient. See Notice of Partial Withdrawal of Objections of

Spencer R. Bueno to Class Action Settlement, Dkt. 853. To

address Furman's concerns with regard   to~   pres, Class

Plaintiffs and Defendants prepared a stipulation, which has now

been entered by the Court, clarifying that, "[p]rior to any

distribution being paid to the cy pres recipient," Class

Plaintiff and Defendants would file a motion setting forth their

proposed designation, that any settlement class member could

oppose the designation at that point, and that no distribution

would be made to a cy pres recipient until the Court ruled upon



objections had a positive impact on the settlement, and arguing
that his record in objecting to class actions is therefore
"balanced in terms of outcomes, results, and settlement
postures." Bueno Opp. at 1-2. But the fact that Furman may have
sometimes hit on a legitimate objection in no way excuses the
many instances in which his objections were palpably meritless.
                                 17
the motion to designate a recipient    ~and   until all appeals

thereto have been exhausted." See Stipulation & Order dated

August 31, 2018, at 2, Dkt. 889. Although this stipulation of

the parties fully protected Furman's ability to object to any cy

pres designation once the issue becomes ripe, Furman refused to

go along with it or withdraw his remaining appeal. See Email

from Joshua R. Furman to Class Plaintiffs dated Aug. 28, 2018,

Declaration of Jeremy A. Lieberman in Further Support of Lead

Plaintiff's Motions for Sanctions Against Joshua R. Furman,

Joseph Gielata, and Richard Gielata, Dkt. 887-3. While, of

course, Furman had no legal obligation to sign this stipulation,

his refusal to do so when the stipulation directly addressed

each of his concerns regarding the cy pres recipient       (except

for his clearly meritless contention that the cy pres recipient

must be identified prior to settlement approval) and expressly

preserved his right to later object regarding cy pres

identification, strongly suggests that his appeal is not

motivated by genuine concerns about the class's interests         in~


pres.

        The Court is left with no doubt whatsoever that Furman has

been proceeding in bad faith.

        iii. Appropriateness of Sanctions

        Furman contends that he cannot be subject to sanctions

either for having filed frivolous objections in this Court or

                                  18
for filing a frivolous appeal to the Second Circuit. As to the

first contention, while it may be that Rule 11 sanctions do not

apply in these circumstances, full authority remains in this

Court to award sanctions for his bad faith filings under Section

1927 and the Court's inherent authority. See Chambers, 501 U.S.

at 50; Enmon, 675 F.3d at 145; Olivieri, 803 F.2d at 1273. And,

while the second contention has some superficial appeal, it

obscures the fact that Furman's objections and appeal are

inextricably linked together as two components of a single

extortionate scheme.

     To treat the filing of frivolous objections in the district

court and the equally-frivolous appeal of the denial of one of

those objections as two unconnected actions, as Furman would

have it, would be to blind oneself to the reality of how the

scheme of Furman and other extortionate objectors actually

works. Such an objector has no expectation that his objections

will prevail in either forum; but the combination creates the

costly delay that leads class plaintiffs to buy him off.

     In recognition of such situations, the Second Circuit,

while expressing the usual "preference that district courts not

sanction parties for filing frivolous appeals," has explicitly

"decline[d]" to "establish[] a bright-line rule" when doing so

would create a gap in oversight in situations where appeals are

voluntarily withdrawn before the appellate court has had the

                                19
opportunity to consider sanctionable conduct. Enmon v. Prospect

Capital Corp., 675 F.3d 138, 146-47 (2d Cir. 2012)   ("Prohibiting

district courts from imposing sanctions in these unique

circumstances might encourage the malicious law firm to

manipulate the appeals process like a yo-yo."). This analysis

perfectly describes the situation that extortionate objectors

present to courts, seeking to technically avoid both district

court and appellate court sanctions while costing the class

through delay of settlement fund distribution. While the

specific sanctions by the district court that the Second Circuit

affirmed in Enmon concerned an appeal that had already been

voluntarily dismissed, the same reasoning applies here, where

the extortionate appeal is equally "taken purely for dilatory

and resource-draining reasons relating to the district court

litigation." Id. at 147.

     Given the ample indications of bad faith and lack of

colorability of Furman's actions throughout this litigation, the

Court finds sanctions appropriate, pursuant to both to Section

1927 and to its inherent power.

     iv.   Amount of the Sanctions


     In terms of the amount of sanctions to be awarded, Class

Plaintiffs first suggest an award of $23,000, representing the

estimated time spent by Class Counsel in responding to Furman's


                                  20
objections. But they acknowledge that this figure is an estimate

based on their total time spent responding to all objections of

all objectors. See Declaration of Jeremy A. Lieberman, Esq., in

Support of Lead Plaintiff's Motion for Sanctions Against Joshua

R. Furman, Dkt. 858. Given the palpable lack of merit of

Furman's filings, the Court infers that not that much of Class

Plaintiffs' time was needed to refute them. The Court therefore

finds sanctions of $10,000 to be more appropriate. This amount

must be paid by Furman to Class Plaintiffs by no later than

October 1, 2018.

     However, Class Plaintiffs also seek additional sanctions in

the form of $20,000 per month attributable to the costs for

delaying distribution of the settlement to settlement class

members as a result of Furman's appeal, and reasonable

attorneys' fees and expenses for work performed by Class Counsel

responding to Furman's appeal. Pl. Mem. at 1. While additional

sanctions of this nature may well be warranted eventually, the

Court believes the better approach is to limit the sanctions to

$10,000 for now, without prejudice to Class Plaintiffs seeking

further sanctions depending on what happens on appeal.


     C. Joseph and Richard Gielata

     Class Plaintiffs also seek sanctions against objector

Richard Gielata and against Joseph Gielata (whom they term "his

de facto counsel")   for filing frivolous objections and a

                                 21
frivolous appeal of the settlement. Pl. Mero. G. at 1. Plaintiff

also argues that Joseph Gielata should be sanctioned for the

unauthorized practice of law in connection with his

participation in this case. Id. While the Court is deeply

troubled by some of the Gielatas' conduct, it concludes in the

end that the high burden for awarding sanctions has not been met

in their case.

     i.   Colorable Basis

     Richard and Emelina Gielata filed an objection to the

settlement arguing,   inter alia, that the class was overbroad and

failed to satisfy the Rule 23 requirement that diverse groups

and individuals in the class be adequately represented. See

Shareholder Objections to Proposed Settlement, Plan of

Allocation, Proof of Claim, Class Notice and Request for

Attorney's Fees ("G. Obj."), Dkt. 813. Specifically, they argued

that an interclass conflict existed between domestic claimants

and those non-domestic claimants whose purchases of Petrobras

securities were connected to the U.S. solely by the fact that

their transactions were cleared through the Depository Trust

Company ("OTC")   in New York ("OTC claimants"). They argued that

OTC claimants should be excluded from the class entirely. Id.

The Court rejected this argument,     finding that defendants had

waived any domesticity challenge for settlement purposes, that

"both the OTC claimants and domestic claimants in this case

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suffered the same injury and are receiving the same relief," and

that the parties had provided an adequate explanation of their

treatment of claims of various strengths. See Op. at 9-20.

Nonetheless, it cannot fairly be said that the Gielata's

objection was frivolous.

     The Gielatas also objected to the attorneys'    fees requested

on several grounds. While the Court chose to reduce the

attorneys'   fees on grounds different from those suggested by the

Gielatas, the Court did specifically take note of the Gielatas'

objections as supportive of the reduction. See Op. at 34.

     The Gielatas are appealing the issue of adequate

representation,    reiterating their argument that the non-domestic

claimants should not have been included in the class. Gielata

Opp. at 4. While the Court, as detailed in its approval of the

settlement, found their argument to be relatively lacking in

merit and unsupported by case law, the issue, as noted,    is   not

frivolous and not unlike the kind of argument the Court would

expect from a serious objector motivated by concerns for class

welfare. Further, the Court notes that the Gielatas have

committed not to dismiss their appeal "without first seeking the

approval of this Court," Gielata Opp. at 4, a step towards the

type of oversight envisioned by the pending changes to Rule 23.

     ii.     Bad Faith




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     Despite the foregoing, however, some of the Gielatas'

behavior in this case and other cases casts more doubt on their

bona fides.   In particular, in the case of Gielata v. Eisenhofer,

No. ll-cv-442-PB (D.N.H. Nov. 30, 2012), Joseph Gielata,

representing his father Robert Gielata,   filed a class action on

behalf of all settlement class members for breach of fiduciary

duty against a law firm that had secured a $3.2 billion

settlement for the class, and subsequently voluntarily dismissed

the case in return for a $2 million private payment. See Pl.

Mero. G. at 3. While different in procedure, this was the

substantive equivalent of an extortionate objection, using a

class action as a vehicle to realize large personal prof its

without benefitting the class.

     Joseph Gielata's personal history also raises concerns. A

member of the Delaware bar, Joseph Gielata pled guilty to

misdemeanor theft in 2006 for arranging sham transactions to

profit from PayPal's money-back guarantee. See In re Gielata,

No. 373, 2007, 2007 Del. LEXIS 376, at *5 (Del. Aug. 28, 2007).

Although the charges were dismissed after he completed the

conditions of probation and made restitution, Joseph Gielata was

publically reprimanded by the Supreme Court of Delaware for

violating multiple Delaware Lawyers' Rules of Professional

Conduct. Id. at *6, *10-11.




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     In the instant action, Joseph Gielata, who is admitted to

the Delaware bar but has not maintained active status, prepared

the objection on behalf of his parents and attempted to

participate as effectively their attorney in calls and

correspondence with the Court, without seeking pro hac vice

admission, entering an appearance, or otherwise seeking

permission. Class Plaintiffs argue that Joseph Gielata should be

sanctioned for unauthorized practice of law on these grounds.

See Pl. Mem. G. at 8. Joseph Gielata argues that he was

permissibly assisting his parents as a retired lawyer and

attempting to represent himself, not his parents, on calls to

the Court regarding discovery sought from him personally. The

Court finds these contentions less than convincing. However,

once the Court became aware of the situation, it directed Joseph

Gielata not to represent his parents on further calls and he

fully complied. Under these circumstances, the Court does not

view sanctions as necessary or appropriate.

     The Court retains the right to revisit this conclusion in

the future.   In this regard, the Court notes that the Gielatas'

notice of appeal was filed on behalf of Richard, Emelina, and

Joseph Gielata, and attached a notice of assignment, executed on

July 23, 2018, purportedly assigning to Joseph Gielata "all

associate rights ... as to ONE (1) SHARE in the Class Action

settlement." See Dkt. 849 at 4. The agreement explicitly states

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that it is for the purpose of "confer[ring] Article III standing

on Joseph Gielata to prosecute any objection or appeal in the

Class Action" as "it is not economically feasible for the

Shareholders to hire a lawyer to protect their rights in

connection with the Class Action" and "Joseph Gielata possesses

the resources and legal knowledge to prosecute an appeal." Id.

Put differently, however, it would seem that the assignment was

executed for the explicit purpose of circumventing pro hac vice

admission requirements. Class Plaintiffs question whether an

assignment under these circumstances is valid, See Pl. Mem. G.

at 12, but this presumably would be a question for the Court of

Appeals. Nonetheless, to the extent such "gamesmanship" impacts

any further proceedings in this Court, the Court will continue

to monitor the situation.

     iii. Appropriateness of Sanctions

     Since, as indicated above, at least one or more of the

objections raised by the Gielatas had an arguably colorable

basis, and since their behavior in pursuing these objections,

while less than ideal, did not exhibit total bad faith and has

not materially prejudiced Class Plaintiffs, the Court declines

to award sanctions against the Gielatas, on any of the various

bases asserted by Class Plaintiffs.

     The Gielatas, for their part, argue that Class Plaintiffs

should be sanctioned for filing a frivolous Rule 11 motion "as a

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bullying tactic to intimidate the Gielatas into not filing an

appeal." Gielata Opp. at 22. However, while the Rule 11 prong of

Class Plaintiffs' motion may have not been supportable, they

raised legitimate concerns under Section 1927 and under the

inherent power of the Court, and, accordingly, the Court denies

the Gielatas' motion.

  II.     Motion for an Appellate Bond

     Class Plaintiffs also move to require Bueno and the

Gielatas to post appeal bonds. Class Plaintiffs argue for the

imposition of a bond in the total amount of $3,030,000,

representing $50,000 for the taxable costs of the appeal, $1.98

million for the incremental expenses of administering the huge

settlement fund during the appeal, and $1 million in estimated

attorneys'    fees for the costs of responding to the appeal. See

Pl. Mem. Bond at 18-24.

        Under Rule 7 of the Federal Rules of Appellate Procedure,

"[i]n a civil case, the district court may require an appellant

to file a bond or provide other security in any form and amount

necessary to ensure payment of costs on appeal." To determine

whether a bond is appropriate, courts consider the following

factors: "(1) the appellant's financial ability to post a bond,

(2) the risk that the appellant would not pay appellee's costs




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if the appeal loses,   (3) the merits of the appeal,6 and (4)

whether the appellant has shown any bad faith or vexatious

conduct." Stillman v. Inservice Am.,   Inc., 838 F.Supp.2d 138,

140 (S.D.N.Y. 2011).

     First, as to financial ability, the Gielatas argue that

they are not capable of paying Class Plaintiff's requested $3

million bond, but they offer "no dispute" as to their financial

ability to pay "normal costs," which they calculate as $2,000.

Gielata Opp. at 15. In actuality, however, the Gielatas have in

none of their filings disputed their ability to pay the higher

amount of costs calculated by Class Plaintiffs - $50,000 - which

the Court finds to be a reasonable calculation. Nor have the

Gielatas submitted any financial information that would

demonstrate their inability to pay these costs. Accordingly,

they have effectively conceded their ability to pay the full

requested taxable costs. See In re Currency Conversion Fee

Antitrust Litig., No. 01 civ. 1409, 2010 WL 1253741, at *l

(S.D.N.Y. Mar. 5, 2010)   (issue of ability to pay conceded where

no evidence presented demonstrating inability to post bond); In

re AOL Time Warner, Inc., Sec. & ERISA Litig., No. 02 civ. 5575,

2007 WL 2741033, at *2    (S.D.N.Y. Sept. 20, 2007)   (same).




6Setting a Rule 7 bond therefore requires the district court to
"prejudge[]" the merits of the appeal. Adsani v. Miller, 139
F.3d 67, 79 (2d Cir. 1998).
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        Bueno avers that he is able to pay court costs of up to

$5,000, but no more. See Declaration of Spencer R. Bueno in

Opposition to Lead Plaintiff's Motion for an Appeal Bond, Dkt.

881-1. He claims to have no income aside from the support of his

girlfriend. Id. He identifies a few thousand dollars in

investment accounts, although he does not assert that these are

his only bank accounts, and his conceded ability to pay $5,000

suggest that he must have other assets. As Bueno does not

provide adequate evidence substantiating his financial status,

the Court finds his claimed inability to pay "does not weigh[]

in favor of denial of a bond,       [but] the Court will consider this

fact in fixing the amount." Berry v. Deutsche Bank Trust Co.

Ams.,    632 F. Supp. 2d 300, 307    (S.D.N.Y. 2009) . 7

        Second, as to risk of non-payment, appellants are located

in different jurisdictions, which would require Class Plaintiffs

to institute multiple collection actions to recover their costs.

Courts have found that such geographic dispersion increases the



7 Class Plaintiffs argue that the financial resources of Bueno's
lawyer, Furman, should also be considered with regards to the
ability to pay an appellate bond. See Lead Plaintiff's Reply in
Support of its Motion for Appeal Bonds ("Bond Reply") at 2, Dkt.
886. However, Class Plaintiffs stated in their initial motion
that they were requesting Bueno (not Furman) to post an appeal
bond, and the only case that they cite in their reply to support
consideration of Bueno's lawyer's assets in addition is
inapposite, as it addresses Rule 38 sanctions awarded against
both the appellant and the appellant's lawyer, not an appeal
bond. See Bond Reply at 2, citing Ransmeier v. Mariani, 718 F.3d
64 (2d Cir. 2013).
                                     29
risk of nonpayment. See Initial Pub. Offering, 728 F. Supp. 2d

at 293; Currency Conversion, 2010 WL 1253741, at *2. Bueno and

the Gielatas do offer personal guarantees that they would pay,

see B. Opp. at 5 and G. Opp. at 16. However, Class Plaintiffs

reasonably note that these guarantees are undercut by Bueno's

claims regarding his inability to pay and Joseph Gielata's

history of fraud.

     Finally, and most critically, as discussed in detail above,

while the Gielatas' appeal is slightly more colorable than

Bueno's frivolous appeal, both appeals lack merit and both

appellants have exhibited some bad faith conduct, albeit worse

in Bueno's case than in the case of the Gielatas.

     Based on its assessment of the relevant factors, the Court

thus finds that an appeal bond is warranted as to both Bueno and

the Gielatas.

     As noted, the Court finds Class Plaintiffs' estimation of

costs in the amount of $50,000 reasonable. See, e.g., Currency

Conversion 2010 WL 1253741, at *3 (Finding an appeal bond of

$50,000 appropriate to cover taxable costs); Berry, 632 F. Supp.

2d at 308   (same); Baker v. Urban Outfitters, Inc., No. 01 civ.

5440, 2006 WL 363592, at *l   (S.D.N.Y. Dec. 12, 2006)   (same).

However, it does appear that Bueno's resources are notably less

than the Gielatas'. Accordingly, the Court directs that the

Gielatas post an appeal bond in the amount of $50,000 and that

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Bueno post an appeal bond in the amount of $5,000, both bonds to

be posted by October 1, 2018.


  III. Conclusion

     In conclusion, the Court hereby orders Joshua R.    Furman to

pay Class Plaintiffs, by no later than October 1, 2018, the sum

of $10,000. This is without prejudice, however, to the

imposition of further sanctions against Furman.   In all other

respects, the Court denies Class Plaintiffs' motion for

sanctions against Furman and against the Gielatas, and likewise

denies both Furman's and the Gielatas' cross-motions for

sanctions against Class Counsel. Further, Bueno is hereby

ordered to post an appeal bond in the amount of $5,000, and the

Gielatas are hereby ordered to post an appeal bond in the amount

of $50,000, both by October 1, 2018. The Clerk is instructed to

close docket numbers 856, 859, and 862.




     SO ORDERED.


Dated:    New York, NY

          September   1J,   2018




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